
















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0310-13






ELKON CRUTCHFIELD, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM TWELFTH COURT OF APPEALS


HENDERSON COUNTY





		Per curiam.  Keasler and HERVEY, JJ., dissent.


ORDER 



		The petition for discretionary review violates Rules of Appellate Procedure
68.4(i) &amp; 9.4(i)(2)(D) because it does not contain a copy of the opinion of the court of
appeals and the petition exceeds the proper length.

		The petition is struck.  See Rule of Appellate Procedure 68.6.

		The petitioner may redraw the petition.  The redrawn petition and copies must
be filed in the Court of Criminal Appeals within thirty days after the date of this order.

			

Filed: July 24, 2013

Do not publish

	


